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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        Case No. 2:21-cr-00104-TLN

                 Plaintiff,

       v.                                         AMENDED ORDER FOR RELEASE
                                                     OF PERSON IN CUSTODY
MARK MARTIN,

                 Defendant.

TO:    UNITED STATES MARSHAL:

       This is to authorize and direct you to release MARK MARTIN,

Case No. 2:21-cr-00104-TLN Charge 21 U.S.C. § 846 and 841(a)(1), from custody

for the following reasons:

                       Release on Personal Recognizance

                       Bail Posted in the Sum of $

                          X       Unsecured Appearance Bond $       100,000.00

                                  Appearance Bond with 10% Deposit

                          X       Third Party Custody

                              X   Conditions as stated on the record

                                  (Other): The Defendant is ordered to be released on

                          X       June 4, 2021 at 10:00 a.m. to the custody of his son,

                                  Mark A. Martin, Jr.

       Issued at Sacramento, California on June 4, 2021 at 7:30 a.m.
